Case 2:07-cr-20099-PDB-MKM ECF No. 96, PageID.278 Filed 01/23/08 Page 1 of 7




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                              Plaintiff,             Criminal No. 07-20099

v.                                                   Honorable Paul D. Borman

D-1 MUSSA SHOHATEE,

                        Defendant.
________________________________/

               STIPULATED PRELIMINARY ORDER OF FORFEITURE

       The United States of America, by and through its attorneys, STEPHEN J. MURPHY,

United States Attorney for the Eastern District of Michigan and T. N. ZIEDAS, Assistant U.S.

Attorney, together with Defendant MUSSA SHOHATEE, by and through his attorney, STEVEN

FISHMAN, ESQ., hereby submit this Stipulated Preliminary Order of Forfeiture:

1.     WHEREAS, an Indictment issued on March 1, 2007, which charged Defendant MUSSA

       SHOHATEE with violating 21 U.S.C. §§ 846, 841(a)(1) and 843(b);

2.     WHEREAS, the Indictment contained Forfeiture Allegations seeking forfeiture of

       property constituting or derived from proceeds, directly or indirectly, as the result of

       those violations, or property that facilitated the violations, pursuant to 21 U.S.C. §853;

3.     WHEREAS, on October 12, 2007, Defendant MUSSA SHOHATEE entered into a Rule

       11 Plea Agreement, pled guilty to Count(s) One and Twenty-three of the Indictment, and

       agreed to forfeiture of (1) 2761 Stair Street, Detroit, Michigan; (2) a 2003 Mercedes

       Benz, VIN WDXYE49E33X138734G500 (the correct VIN is WDCYR49E33X138734);
Case 2:07-cr-20099-PDB-MKM ECF No. 96, PageID.279 Filed 01/23/08 Page 2 of 7




     and (3) a 2006 Hummer, VIN 5GRGN23U86H109521, which property constitutes direct

     or indirect proceeds, or property that facilitated the violations, pursuant to 21 U.S.C.

     §853;

4.   NOW THEREFORE, based upon the Indictment, Defendant Defendant MUSSA

     SHOHATEE’s acknowledgment of forfeiture, and the information in the record;

     IT IS HEREBY ORDERED that the following property is FORFEITED by Defendant

     MUSSA SHOHATEE:

     (1) 2761 Stair Street, Detroit, Michigan, more fully described as follows:

     Lots 190 through 194, inclusive, Lot 221, Lots 223 through 231, inclusive, and Lots 240

     through 247, inclusive, Burn’s Subdivision, according to the recorded plat thereof as

     recorded in Liber 17 of Plats, page 3, Wayne County Records;

     (2) a 2003 Mercedes Benz, VIN WDCYR49E33X138734; and

     (3) a 2006 Hummer, VIN 5GRGN23U86H109521 (hereafter “Subject Assets”).

     IT IS FURTHER ORDERED that any and all interest of Defendant MUSSA

     SHOHATEE IS HEREBY FORFEITED to the United States for disposition in

     accordance with law, and any right, title or interest of Defendant MUSSA SHOHATEE ,

     and any right, title or interest that his heirs, successors or assigns, have or may have in

     said property IS HEREBY AND FOREVER EXTINGUISHED.

5.   Upon entry of this Order, the United States or a designee is authorized to seize the assets

     described above in paragraph 4 (“Subject Property”), pursuant to Federal Rule of

     Criminal Procedure 32.2(b)(2) and (3), to conduct any discovery that the Court considers
Case 2:07-cr-20099-PDB-MKM ECF No. 96, PageID.280 Filed 01/23/08 Page 3 of 7




     proper to help identify, locate, or dispose of any assets seized, and United States is

     authorized to begin proceedings consistent with applicable statutory requirements

     pertaining to ancillary hearings and the rights of any third parties

6.   The United States shall publish at least once for three successive weeks, in a

     newspaper of general circulation, notice of this Preliminary Order of Forfeiture and its

     intent to dispose of the real property in such manner as the Attorney General may direct,

     pursuant to 21 U.S.C. § 853(n). Said notice shall direct that any person, other than

     Defendant MUSSA SHOHATEE , asserting a legal interest in the property may file a

     petition with the Court within thirty (30) days of the final publication of notice or of

     receipt of actual notice, whichever is earlier. The petition shall be for a hearing before

     the Court alone, without a jury and in accordance with 21 U.S.C. § 853(n), to adjudicate

     the validity of the petitioner's alleged interest in the property. The petition must be

     signed by the petitioner under penalty of perjury and must set forth the nature and extent

     of the petitioner's alleged right, title or interest in the property, the time and

     circumstances of the petitioner’s acquisition of the right, title, or interest in the property,

     any additional facts supporting the petitioner's claim, and the relief sought. The United

     States may also, to the extent practicable, provide direct written notice to any person or

     entity known to have an alleged interest in the property.

7.   Defendant MUSSA SHOHATEE that he will cooperate with the United States by taking

     whatever steps are necessary to deliver clear title to the above-identified property to the

     United States and will execute such legal documents as may be required to transfer title
Case 2:07-cr-20099-PDB-MKM ECF No. 96, PageID.281 Filed 01/23/08 Page 4 of 7




      to the United States and by taking whatever steps are necessary to ensure that the

      property is not sold, disbursed, hidden, wasted or otherwise made unavailable for

      forfeiture. If any other person or entity has any interest in such property, Defendant

      MUSSA SHOHATEE will assist in obtaining a release of interest from any such other

      person or entity.

8.    In entering into this Stipulated Preliminary Order of Forfeiture, Defendant MUSSA

      SHOHATEE expressly waives his right to have a jury determine the forfeitability of his

      interest in such property as provided by Rule 32.2(b)(4) of the Federal Rules of Criminal

      Procedure. Defendant MUSSA SHOHATEE knowingly, voluntarily, and intelligently

      waives any challenge to the above-described forfeiture based upon the Excessive Fines

      Clause of the Eighth Amendment to the United States Constitution, and specifically

      acknowledges that the above-identified forfeitable property constitutes or is derived from

      proceeds traceable to or property that facilitated his violations.

9.    Defendant MUSSA SHOHATEE waives the requirements of Federal Rules of Criminal

      Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,

      announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the

      judgment. Defendant MUSSA SHOHATEE acknowledges that he understands that the

      forfeiture of assets is part of the sentence that may be imposed on him in this case and

      waives any failure by the court to advise him of this, pursuant to Rule 11(b)(1)(J), at the

      time any guilty plea is accepted.

10.   Following the Court's disposition of all petitions filed, if any, and upon proof of
Case 2:07-cr-20099-PDB-MKM ECF No. 96, PageID.282 Filed 01/23/08 Page 5 of 7




      publication and notice to any persons known to have alleged an interest in the real

      property , the United States shall have clear title to the real property, and the Attorney

      General and the United States Marshal’s Service are authorized to dispose of the forfeited

      assets in accordance with law.

11.   Pursuant to Fed.R.Crim.P. 32.3(b)(3), this Preliminary Order of Forfeiture shall become

      final as to the defendant at the time of sentencing and shall be made part of the sentence

      and included in the judgment. If no third party files a timely claim, this Order shall

      become the Final Order of Forfeiture, as provided by Fed.R.Crim.P. 32.2(c)(2).
Case 2:07-cr-20099-PDB-MKM ECF No. 96, PageID.283 Filed 01/23/08 Page 6 of 7




12.    The Court retains jurisdiction to enforce this Order, and to amend it as necessary,

       pursuant to Fed.R.Crim.P. 32.2.

Agreed as to form and substance:

STEPHEN J. MURPHY
United States Attorney


s/T. N. Ziedas                       s/with consent of Steven Fishman

Assistant United States Attorney     Attorney for Defendant Mussa Shohatee
211 W. Fort Street, Suite 2001       615 Griswold, Suite 1125
Detroit, MI 48226                    Detroit, MI 48025
(313)-226-9573                       (313)-962-4090
peter.ziedas@usdoj.gov               Sfish66@yahoo.com
[P34653]                             [P23049]

Dated: January 17, 2008              Dated: January 17, 2008


                                     s/ with consent of Mussa Shohatee


                                     Dated: January 17, 2008

**********************************************

IT IS SO ORDERED.



                                             s/Paul D. Borman
                                             PAUL D. BORMAN
                                             UNITED STATES DISTRICT JUDGE

Dated: January 23, 2008
Case 2:07-cr-20099-PDB-MKM ECF No. 96, PageID.284 Filed 01/23/08 Page 7 of 7




                                CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record by electronic means or U.S. Mail on
January 23, 2008.


                                            s/Denise Goodine
                                            Case Manager
